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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   )
                                           )
                                           )
              v.                           )       21-118 (RCL)
                                           )
                                           )
ERIC MUNCHEL                               )



                        MOTION TO WITHDRAW AS COUNSEL


       Pursuant to LCrR 44.5(d), counsel for defendant Eric Munchel, Sandra Roland and

Elizabeth Mullin, respectfully move for leave to withdraw as Mr. Munchel’s counsel.

       Mr. Munchel has retained counsel, Joseph W. Allen, who moved for leave to enter his

appearance pro hac vice on October 14, 2022. Negotiations between the government and Mr.

Munchel’s defense team have stalled because it is unclear who will represent Mr. Munchel in

future proceedings.

                                           Respectfully submitted,

                                           A. J. KRAMER
                                           FEDERAL PUBLIC DEFENDER

                                           ___________/s/_________________
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